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JURY TRIAL - Day 9 Final

           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge: David C Nye                                      Deputy Clerk: Pamela Fulwyler
Case No: 13-035-S-DCN                                   Reporter: Katherine Eismann
Date: February 14, 2019                                 Time: 2 hrs 50 mins
Place: Boise, ID

Cynthia Fuller                        Kathryn Harstad / Erika Birch
             Plaintiff                Attorney for Plaintiff
vs.

Corrections, Department of et al      Phillip Collaer / Yvonne Dunbar
             Defendant                Attorney for Defendant


Final Jury Instructions to Parties and Objections placed on the Record - 8:38
Exhibits 1050 admitted and 1032 to be redacted of any reference to pay and social security number.

Jurors and all Parties present in courtroom - 9:20 am

Court read Jury Instructions.
Closing Arguments by Plaintiff.
Closing Arguments by Defendant.
Rebuttal by Plaintiff.

Jury adjourned for deliberation - 11:42 pm.
Courts remarks to counsel regarding availability during deliberations.

Jury Questions.

Jurors and all Parties present in courtroom for the verdict - 5:14 pm
Neither party requested the jury to be polled.
Court thanked jurors for their service and they were excused.


Court in Recess - TRIAL CONCLUDED


CLERK’S NOTE:            EXHIBITS WERE RETURNED TO COUNSEL AT THE CONCLUSION OF
                         THE TRIAL.
